UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT

UNITED STATES OF AMERICA

Vs. : CRIMINAL NO. 3:20CR00181 (KAD)
DAVID DUNN : March 29, 2021

DEFENDANT'S MEMORANDUM IN AID OF SENTENCING

The Defendant, David Dunn, respectfully submits this memorandum as an aid to

the court at sentencing, and in support of his request for a sentence of probation.
|. Background.

David Dunn’s behavior was occasioned by his respect for A.J. Perez, with whom
he had worked with over the years, and witnessed firsthand Perez’s rise from humble
origins to become the Acting Chief of Police of Connecticut’s largest city, Bridgeport.
From his vantage point as Personnel Director, David Dunn truly believed that Perez was
the most qualified candidate for the Police Chief position. However, David Dunn
honestly thought that Perez would be at a marked disadvantage when competing in the
selection process for permanent chief, since English was Perez’s second language and
because he lacked a college degree. Based on the common knowledge of the close
friendship between the Mayor and Perez, the Mayor having appointed Perez as the

Acting Chief, as well as the frequent inquiries about Perez’s prospects by'members of
the city council, to the exclusion of other candidates, David Dunn correctly assumed that

Perez was the choice of his superiors for appointment to Chief of Police.

David Dunn has been truthfully described as honest, trustworthy and highly
ethical, but also loyal, faithful and caring (See character letters). Regrettably, these
positive attributes, in this case, conflicted with each other. David Dunn rationalized that
since the city would benefit with the best candidate being named chief, he would assist
the best candidate, Perez, to overcome Perez's clear disadvantage, and, at the same
time, please the administration he served. Unfortunately, he allowed this rationalization
to override the moral and ethical code by which his personal and professional life had
always been guided. It is noteworthy that, although Perez gained financially, David
Dunn did not seek nor did he receive a financial benefit from his conduct.

Consequently, David Dunn, 73 years of age, with an unblemished criminal
record, possessing a well-deserved reputation of honesty and integrity, and having a
and a strong professional and employment history, stands before the Court,
embarrassed and humiliated by his conduct.

Immediately following his arrest, David Dunn voluntarily resigned from his
position with the City of Bridgeport, as well as his other professional commitments. At
the same time he has not remained idle. He continues to be productive by involving
himself in community volunteer work and intends to continue to do in the future.

It is abundantly clear based upon the testaments of the multitude of persons who
provided character letters that the behavior that led to the instant offense is an

aberration and incompatible to his core being. Given the aberrant behavior of David
Dunn's conduct in this case, combined with his lack of any criminal record, his
unconditional acknowledgment of the wrongfulness of his actions, demonstrate that he
is virtually no threat of recidivism, and accordingly does not require a sentence of
imprisonment to either "teach him a lesson", or "protect society". He fully understands
that he has committed a serious crime for which he takes full responsibility; a prison
sentence will not make it any more clear to him that he has breached the public trust

which his position required of him.

il. Discussion.
A. Guideline Calculations.
Probation is correct in calculating Mr. Dunn's offense level at 15, which calls for

sentencing range of 18-24 months. PSR at 110

B. Restitution.

1. Initial Restitution Figure

As set forth in the PSR at 122, Mr. Dunn has pre-paid one-half of the restitution
amount to the Clerk of the court (see attached) understanding that the co-defendant AJ
Perez has similarly deposited one-half of said sum.

Regarding the loss to the City ($149,406.78), the lion share, $132,406.78
represents increased payments to Mr. Perez. PSR at 32. Unlike Perez who is mostly
returning funds he received, David Dunn did not financially profit and is nevertheless
paying one half of same. Thus, although David Dunn accepts his responsibility, it is

worth noting, David Dunn did not receive any funds that contributed to the City's loss.
2. Subsequent Claim of Restitution
Mr. Dunn has pre-paid an additional $75,000 representing one-half of the
subsequent claim of restitution made by the City with the understanding that the
Co-Defendant, A.J. Perez has similarly deposited one-half of said sum. Thus the

total pre-paid restitution in this matter by Mr. Dunn is $149,703.39.

C. Marital and Personal Relations.

Darlene Dunn, David Dunn's former wife, related that, having always known
David to be honorable and honest, she was shocked when she learned of his arrest,
stating his conduct was completely out of character. She sincerely emphasized that
David is a good man whom she describes as compassionate, a great father, a good
friend, always loyal to his friends and family. PSR at 76.

Similarly, Joyce Agius, with whom Mr. Dunn has shared a relationship for over
the preceding fifteen years, describes David Dunn as very respectful, a gentleman,
generous, sincere, and expressed that she was likewise shocked to learn of David's
involvement because he has always been honest and trustworthy and so““by the book’.
Ms. Agius expressed her opinion that David's participation must have been motivated

because he thought he was helping a friend and believed it was expected of him by his

superiors. She further states that this case is killing him. PSR at 78.

D. Submitted Character Letters.
Defendant has submitted character letters from a diverse and wide array of
individuals including, attorneys, ex-wife, former mayors, friends, family members, and

colleagues on both sides of labor. These letters attest to David Dunn's remorse and
acceptance of responsibility. They describe his traits of: honesty, integrity,
professionalism, trustworthiness, fairness, consideration of others, loyal, family man,
compassionate, caring, caregiver, selfless and his feelings of shame, humiliation, not

defending his conduct or minimizing same, mortified and aberrant.

E. Consequences of His Conduct.

David Dunn's conduct has injured him in every conceivable way; his finances, his
stature in the community, his personal relationships, his work and employability, his
mental, emotional, physical health and well-being, and his professional reputation,
developed over a lifetime of always acting honestly and ethically. David, as noted, gave
up his employment with Bridgeport, as well as his other professional engagements; he
has made restitution for sums from which he has received no benefit. He has suffered
emotionally, as evidenced by his counseling; and he has been subjected to lawsuits,
including one that could eliminate or reduce his pension. Most injurious is the personal
shame and humiliation he has brought on his family and loved ones. He will forever be
stigmatizes as a convicted felon.

Despite these consequences, David Dunn continues to give back to the
community in meaningful ways by his volunteerism and community service activities.

PSR at 134.

F. Health
Defendant agrees with the information contained in the Pre-Sentence Report.

However, he wishes to supplement same by updated reports from his neurologist, Dr.

James Butler and his counselor.
G. Propriety of a Non-Guideline Sentence.

David Dunn's age, his health issues, payment of up-front restitution, acceptance
of responsibility, remorse, unblemished criminal record, risk of COVID and behavior and
conduct that were an aberration of a lifetime of moral and ethical comportment,
demonstrate that a sentence of probation is sufficient, but not greater than necessary to

achieve the general goals of sentencing pursuant to 18 U.S.C. Sec 3553(a).

Ili. Conclusions.

David Dunn comes before this court painfully aware of the wrongfulness of his
conduct in this case but determined to make recompense for his conduct by serving the
community, his family and friends as he has done in the past and with the strength of
spirit that has maintained his sobriety for over 33 years. David Dunn's “history and
characteristics,” extremely aberrant behavior and his low risk of recidivism coupled with
the consequences he has faced and will continue to face, suggest that a sentence of
probation is a "sufficient, but not greater than necessary" sentence in this case. 18

U.S.C. Sec 3553(a).
Dated: March 29, 2021

Respectfully submitted,

THE DEFENDANT
DAVID DUNN

FREDERICK D. PAOLETTI, JR

/s/ Frederick D. Paoletti, Jr.
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CERTIFICATION

| HEREBY CERTIFY that on this date a copy of the foregoing was filed

electronically and served by mail on anyone unable to accept electronic filing. Notice of

this filing will be sent by e-mail to all parties by operation of the Court’s electronic filing

system and by mail to anyone unable to accept electronic filing as indicated on the

Notice of Electronic Filing. Parties may access this filing through the Court’s CM-ECF

system.

Dated at Bridgeport, Connecticut on this 29th day of March 2021.

/s/ Frederick D. Paoletti, Jr.
Frederick D. Paoletti, Jr. (CT 09223)
